Case 1:19-cv-00528-TWP-DML Document 1 Filed 02/01/19 Page 1 of 6 PageID #: 1

                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

  Andrea Frazee,                      )
                                      )
               Plaintiff,             )
                                      )
        vs.                           ) Case No.: 1:19-cv-528
                                      )
  MediCredit, Inc.,                   )
                                      )
               Defendant.             )
  ____________________________________)___________________________________

       COMPLAINT SEEKING DAMAGES FOR VIOLATION OF
         THE FAIR DEBT COLLECTION PRACTICES ACT

                                        Introduction

     1. This is an action for actual and statutory damages, legal fees and costs pursuant to
        the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et. seq (hereinafter
        referred to as the “FDCPA”), which prohibits debt collectors from engaging in
        abusive, deceptive, and unfair practices. Id.

     2. The purpose of the FDCPA is to eliminate abusive debt collection practices by debt
        collectors, to insure that those debt collectors who refrain from using abusive debt
        collection practices are not competitively disadvantaged, and to promote consistent
        State action to protect consumers against debt collection abuses. Id.

     3. If a violation occurs, “the FDCPA is a strict liability statute that makes debt
        collectors liable for violations that are not knowing or intentional.” Donohue v.
        Quick Collect, Inc., 592 F.3d 1027, 1030 (9th Cir. 2010).

     4. Even a single violation of the FDCPA is sufficient to support liability. Taylor vs.
        Perrin, Landry, deLaunay, & Durand, 103 F.3d 1232, 1238 (5th Cir. 1997).

                                         Jurisdiction

     5. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15
        U.S.C. § 1692k(d).

                                            Venue

     6. Venue is proper in this Judicial District.

     7. The acts and transactions alleged herein occurred in this Judicial District.

     8. The Plaintiff resides in this Judicial District.
     9. The Defendant transacts business in this Judicial District.
                                              1
Case 1:19-cv-00528-TWP-DML Document 1 Filed 02/01/19 Page 2 of 6 PageID #: 2



                                            Parties

     10. The Plaintiff, Andrea Frazee, is a natural person.

     11. The Plaintiff is a “consumer” as that term is defined by § 1692a.

     12. The Plaintiff is “any person” as that term is used in 15 U.S.C. § 1692d preface.

     13. The Defendant, MediCredit, Inc., and/or debt purchaser operating from an address
         at 3620 I-70 Drive SE, Suite C, Columbia, MO 65201.

     14. The Defendant is a debt collection agency and the Defendant is licensed by the
         State of Indiana. See Exhibit “1” attached hereto.

     15. Defendant regularly attempt to collect, directly or indirectly, debts owed or due or
         asserted to be owed or due another.

     16. The Defendant regularly collects or attempts to collect, directly or indirectly, debts
         owed or due or asserted to be owed or due another that arose out of transactions in
         which the money, property or services which are the subject of the transactions are
         primarily for personal, family or household purposes.

                                     Factual Allegations

     17. The Defendant is a debt collection agency attempting to collect a debt from
         Plaintiff.

     18. The Plaintiff incurred a debt to that was for primarily for personal, family or
         household purposes as defined by §1692(a)(5).

     19. The debt owed by Plaintiff went into default.

     20. After the debt went into default the debt was placed or otherwise transferred to the
         Defendant for collection.

     21. The Plaintiff disputes the debt.

     22. The Plaintiff requests that the Defendant cease all further communication on the
         debt.

     23. The Defendant’s collector(s) were employee(s) and/or representative(s) of the
         Defendant at all times mentioned herein.

     24. The Defendant acted at all times mentioned herein through its employee(s) and/or
         representative(s).

     25. The Plaintiff retained John Steinkamp & Associates for legal representation
         regarding the Plaintiff’s debts.

                                               2
Case 1:19-cv-00528-TWP-DML Document 1 Filed 02/01/19 Page 3 of 6 PageID #: 3

     26. Prior to July 5, 2017, the Defendant had reported to TransUnion credit reporting
         agency that the Plaintiff owed a debt to its client.

     27. The reporting of a debt to a credit reporting agency by a debt collector is a
         communication to which the FDCPA applies. See Daley vs. A & S Collection
         Assocs., Inc., 2010 WL 2326256 (D. Oreg. 2010); Akalwadi v. Risk Mgmt
         Alternatives, Inc., 336 F.Supp.2d 492, 503 (D. Md. 2004).

     28. On July 5, 2017, the Plaintiff’s legal counsel sent a letter to the Defendant via
         facsimile. This facsimile transmission to the Defendant was successfully received
         by the Defendant. See Exhibit “2” attached hereto.

     29. This letter indicated that Plaintiff disputed the debt that Defendant is attempting to
         collect. Section 1692e(8) does not require an individual’s dispute be valid or
         reasonable. Instead, the plaintiff must simply make clear that he or she dispute the
         debt. Evans v. Portfolio Recovery Associates, 2018 U.S.App. LEXIS 11372 *14
         (7th Cir. 2018); see also DeKoven v. Plaza Associates, 599 F.3d 578, 582 (7th Cir.
         2010)(“[A] consumer can dispute a debt for ‘no reason at all . . .”).


     30. The July 5, 2017, letter represents the first notice by the consumer that the debt at
         issue in this matter is disputed.

     31. Communications sent via facsimile are assumed to have been received by the
         intended recipient if the facsimile confirmation indicates a successful transmission.
         See Laouini v. CLM Freight Lines, Inc., 586 F.3d 473 (7th Cir., 2009)(holding that
         facsimile confirmation generated by the…fax machine was sufficient to create a
         factual dispute that …was received…); Bridgeview Health Care Center Ltd. v.
         Clark, 2011 WL 4585028, 3 (N.D.Ill 2011)(“Indeed, in the facsimile transmission
         context, it is commonly understood that ‘success’ means that ‘the two fax machines
         have performed an electronic “handshake” and that the data has been transmitted
         from one machine to the other.”).

     32. Plaintiff filed a lawsuit against Defendant in August of 2018 regarding
         Defendant’s failure to notify the credit reporting agencies that the debt at issue in
         this matter is disputed. Furthermore, paragraph 21 of the Complaint specifically
         states that Plaintiff disputes the debt at issue in the case. This paragraph
         represents the second notice to Defendant that Plaintiff disputes this debt.
         Defendant was served with this Complaint on or about August 28, 2018. See dkt
         #5 of Andrea Frazee v. MediCredit, Inc., Case No.: 1:18-cv-2604-JMS-TAB.

     33. On November 7, 2018, the Plaintiff’s legal counsel sent another letter to the
         Defendant via facsimile notifying Defendant that the debt was disputed by Plaintiff.
         This communication represents the third notice that this debt is disputed. This
         facsimile transmission to the Defendant was successfully received by the
         Defendant. See Exhibit “3” attached hereto.

     34. On January 28, 2019, the Plaintiff obtained and reviewed a copy of her
         TransUnion credit report. See Exhibit “4” attached hereto.

                                               3
Case 1:19-cv-00528-TWP-DML Document 1 Filed 02/01/19 Page 4 of 6 PageID #: 4

     35. On January 28, 2019, the Defendant was continuing to report the Plaintiff’s debt
         to it without indicating that the debt was disputed. See Exhibit “4” attached
         hereto.

     36. The TransUnion credit report dated January 28, 2019 indicates that it was last
         reported or verified January of 2019. See Exhibit “4” attached hereto.

     37. Despite three (3) prior notices including a lawsuit over this issue, the TransUnion
         credit report dated January 28, 2019, fails to indicate that the debt was disputed by
         the consumer. See Exhibit “4” attached hereto.

     38. By failing to communicate that the debt at issue was disputed, Defendant violated
         the FDCPA. Evans v. Portfolio Recovery Assocs., 2018 U.S. App.LEXIS 11372
         *12 – 13 (7th Cir. 2018)(“Despite receiving the Letters, PRA still reported
         plaintiffs’ debts to credit reporting agencies without noting that the debt amounts
         were disputed. This is a clear violation of the statute”); see also, Sayles v.
         Advanced Recovery Systems, Inc., 865 F.3d 246 (5th Cir. 2017).

     39. The Defendant’s violation of the FDCPA is material because Defendant’s failure
         to update her credit report would make an unsophisticated consumer believe that
         she did not have the rights Congress had granted to her under the FDCPA. This
         alleged violation of the FDCPA is sufficient to show an injury-in-fact. Evans v.
         Portfolio Recovery Assocs., 2018 U.S. App. LEXIS 11372, *8-*9 (7th Cir. 2018);
         See also Sayles, supra, 865 F.3d at 250 (debt collector’s violation exposed
         consumer to “a real risk of financial harm caused by an inaccurate credit rating”).

     40. The Defendant’s violation of the FDCPA is a material violation of the statute.
         Indeed, as the Seventh Circuit Court of Appeals stated, “[p]ut simply, the failure
         to inform a credit reporting agency that the debtor disputed his or her debt will
         always have influence on the debtor, as this information will be used to determine
         the debtor’s credit score”. Evans, supra, at *20.

     41. The Defendant’s collection communications are to be interpreted under the
         “unsophisticated consumer” standard. See Gammon vs. GC Services, Ltd.
         Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994).


                                   First Claim for Relief:
                                  Violation of the FDCPA

     1. The allegations of Paragraphs 1 through 41 of the complaint are realleged and
        incorporated herewith by references.

     2. The Defendant violated 15 U.S.C. § 1692e(8) by continuing to attempt to report a
        debt to a credit reporting agency when it knew the debt was disputed by the
        consumer. See 15 U.S.C. 1692e(8) (“…the following conduct is a violation of
        this section…including the failure to communicate that a disputed debt is
        disputed…”); Evans v. Portfolio Recovery Assocs., 2018 U.S. App.LEXIS 11372
        (7th Cir. 2018); see also Hoffman vs. Partners in Collections, Inc., 1993 U.S. Dist.
        LEXIS 12702 (N.D. Ill. 1993); Brady vs. Credit Recovery Co., Inc., 160 F.3d 64,
                                              4
Case 1:19-cv-00528-TWP-DML Document 1 Filed 02/01/19 Page 5 of 6 PageID #: 5

        65 (1st Cir. 1998)(Section 1692(e)(8) requires debt collector who knows, or
        should know, that a given debt is disputed to disclose its disputed status. This
        standard requires no notification by the consumer, written or oral, and instead,
        depends solely on the debt collector’s knowledge that a debt is disputed,
        regardless of how or when that knowledge is acquired); Finnegan vs. Univ. of
        Rochester Med. Ctr, 21 F.Supp.2d 223 (W.D.N.Y. 1998); 1st Nationwide
        Collection Agency, Inc. v. Werner, 654 S.E.2d 428 (Ga.Ct.App. 2007); Randall
        vs. Midland Funding, LLC, 2009 WL 2358350 (D. Neb. 2009); Kinel v. Sherman
        Acquisition II, L.P., 2007 WL 2049566 (S.D.N.Y. 2007); Acosta v. Campbell,
        2006 WL 146208 (M.D. Fla. 2006); see also Daley vs. A & S Collection
        Associates, Inc., 717 F.Supp.2d 1150 (D.Oreg. 2010)(summary judgment issued
        for Plaintiff when the Defendant communicated credit information to credit
        reporting agency which it knew or should have known to be false); Smith v.
        National Credit Systems, Inc., 807 F.Supp.2d 836 (D.Ariz. 2011)(holding that
        bona fide error defense did not excuse debt collector’s error in failing to report
        that debt was in dispute).

     3. The Defendant's acts and omissions intended to harass the Plaintiff in violation of
        the FDCPA pursuant to the preface of 15 U.S.C. § 1692d by continuing to report
        the debt to a credit reporting agency when it knew the debt was disputed by the
        consumer.

     4. The Defendant's acts and omissions constitute unfair and unconscionable attempts
        to collect a debt in violation of the FDCPA pursuant to the preface of 15 U.S.C. §
        1692f by continuing to report the debt to a credit reporting agency when it knew
        the debt was disputed by the consumer.

     5. The Defendant misrepresented the status of this debt to a credit reporting agency
        which constitutes a violation of 15 U.S.C. § 1692e.

     6. As a result of the above violations of the FDCPA, Defendant is liable to Plaintiff
        for actual damages, statutory damages of $1,000 per defendant, attorney fees, and
        costs.
                                     Prayer for Relief

        WHEREFORE, the Plaintiff prays that the Court grant the following:

        1. A finding that the Defendant violated the FDCPA and/or an admission from
           the Defendant that it violated the FDCPA.

        2. Actual damages under 15 U.S.C. § 1692k(a)(1).

        3. Statutory damages under 15 U.S.C. § 1692k(a)(2)(A).

        4. Reasonable attorneys fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).

        5. Such other and further relief as the Court deems just and proper.




                                             5
Case 1:19-cv-00528-TWP-DML Document 1 Filed 02/01/19 Page 6 of 6 PageID #: 6



        Respectfully submitted,

        /s/ John T. Steinkamp
        John T. Steinkamp
        Sawin, Shea & Steinkamp, LLC
        5214 S. East Street, Suite D1
        Indianapolis, IN 46227
        Office: (317) 255-2600
        Fax: (317) 255-2905
        Email: john@sawinlaw.com




                                        6
